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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   KATHY MCCARTER,                                        )
                                                          )
                            Plaintiff,                    )
                                                          )
                                                vs.       )          No. 1:14-cv-01372-JMS-MJD
                                                          )
   CREDIT BUSINESS SERVICES, INC.,                        )
   COLLECTION BUREAU OF FT. WALTON                        )
   BEACH, INC.,                                           )
                                                          )
                            Defendants.                   )


                    Order Directing Filing of Documents Authorizing Dismissal

          The Court has been advised by counsel that a settlement has been reached in this action.

 Therefore, all pending motions, if any, are now DENIED AS MOOT and all previously ordered

 dates relating to discovery, filings, schedules, conferences, and trial, if any, are VACATED.

          Within thirty (30) days of the date of this entry, counsel for the Plaintiff shall file a

 motion to dismiss this cause and submit an order for the Court’s signature ordering the dismissal

 of this action or a stipulation of dismissal (consistent with the agreement of the parties).

 Additional time to complete the execution of the settlement documents may be granted for good

 cause shown, if requested in writing before expiration of this period.

 So ORDERED.



 Dated:    02/10/2015



 Distribution:

 All Electronically Registered Counsel
